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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                   )
 DATA MARKETING PARTNERSHIP, LP,                   )
 et al.,                                           )
                                                   )
         Plaintiffs,                               )
                                                   ) Civil Action No. 4:19-cv-00800-O
 v.                                                )
                                                   )
 UNITED STATES DEPARTMENT OF                       )
 LABOR, et al.,                                    )
                                                   )
         Defendants.                               )
                                                   )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s August 11, 2023 Opinion and Order Denying Defendants’ Motion

to Remand (ECF No. 51), the parties submit this joint status report as to how this Court should

proceed with this case. The parties jointly propose that the Court set the following briefing

schedule:

       *        On or before January 15, 2024, Plaintiffs will file a motion for summary judgment
                regarding the issues remanded by the Fifth Circuit as to the permanent injunction
                requested by Plaintiffs (not to exceed 30 pages).

       *        On or before February 26, 2024, Defendants shall file their opposition to Plaintiffs’
                motion for summary judgment (not to exceed 40 pages).

       *        On or before March 18, 2024, Plaintiffs shall file a reply brief in support of their
                motion for summary judgment (not to exceed 20 pages).

       There is good cause to enter this proposed briefing schedule. Due to the overlap of

preexisting deadlines and obligations for undersigned counsel and in-house counsel for the parties,

this is the earliest schedule practical for all parties. The parties agree that this proposed schedule

will not prejudice any party.



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       Moreover, the parties agree that the sole remaining issue in this case is whether the Court

should enter a permanent injunction as additional relief beyond the vacatur of the Department of

Labor’s Advisory Opinion, and that the issues remanded by the U.S. Court of Appeals for the Fifth

Circuit must be addressed for that purpose.

       For the foregoing reasons, the parties request that the Court enter the briefing schedule

proposed above.

Dated: September 14, 2023                       Respectfully submitted,

/s/_Jonathan D. Crumly_______                   BRIAN M. BOYNTON
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                                 CERTIFICATE OF SERVICE

       On September 14, 2023, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served the parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                            /s/ Robert G. Chadwick Jr.
                                                            Robert G. Chadwick, Jr.




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